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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA


Douglas A. Kelley, in his capacity as            Case No. 19-cv-1756 (WMW)
the Trustee of the BMO Litigation Trust,

                         Plaintiff,

      v.                                            SPECIAL VERDICT
                                                    FORM
BMO Harris Bank N.A., as successor
to M&I Marshall and Ilsley Bank,

                         Defendant.


      We, the jury in this case, unanimously make these answers to the
following questions:


                 Count I: Minnesota Uniform Fiduciaries Act


Question No. 1:          Do you find in favor of Plaintiff and against
                         Defendant on Count I, which alleges a violation of
                         the Minnesota Uniform Fiduciaries Act?

Answer:                  Yes_______________                No______________




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                    Count II: Breach of Fiduciary Duty


Question No. 2:        Do you find in favor of Plaintiff and against
                       Defendant on Count II, which alleges breach of
                       fiduciary duty?

Answer:                Yes_______________            No______________




                   Count III: Aiding and Abetting Fraud


Question No. 3:        Do you find in favor of Plaintiff and against
                       Defendant on Count III, which alleges aiding and
                       abetting fraud?

Answer:                Yes_______________            No______________




          Count IV: Aiding and Abetting Breach of Fiduciary Duty


Question No. 4:        Do you find in favor of Plaintiff and against
                       Defendant on Count IV, which alleges aiding and
                       abetting breach of fiduciary duty?

Answer:                Yes_______________            No______________




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      Answer Question Nos. 5 and 6 only if you answered “Yes” to at
least one of the previous four questions (Question Nos. 1, 2, 3 or 4).
     If you answered “No” to all of the previous questions (Question
Nos. 1, 2, 3 and 4), do not answer any more questions on this Special
Verdict Form. Have your foreperson sign and date this form on
page 5.


                       Compensatory Damages

Question No. 5:      What sum of money will fairly and adequately
                     compensate Plaintiff for any harm arising from any
                     claim or claims on which you have found in favor of
                     Plaintiff?

                     $____________________
                     (state amount or, if none, write the word “none”)




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                          Punitive Damages

      You may not award punitive damages against the Defendant
unless you have first found against the Defendant on at least one of
Plaintiff’s claims by answering “Yes” to at least one of the first four
questions (Question Nos. 1, 2, 3 or 4), and you have provided an
answer to Question No. 5.
      If you answered “No” to all of the first four questions (Question
Nos. 1, 2, 3 and 4), and you have not provided an answer to Question
No. 5, do not answer Question No. 6. Have your foreperson sign and
date this form on page 5.


Question No. 6:      We assess punitive damages against Defendant in the
                     amount of:

                     $____________________
                     (state amount or, if none, write the word “none”)




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                     FOREPERSON SIGNATURE

      We, the jury, have answered the foregoing questions as indicated and
return the same to the Court as our verdict.


Dated: _______________            Foreperson: ____________________




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